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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

     v.
                                                    Case No. 21-cr-105 (JMC)
 HENRY PHILLIP MUNTZER,
 also known as “Hank Muntzer”

         Defendant.

                      GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court depart or vary upwards from the applicable 27-33 month U.S. Sentencing Guidelines range

to sentence Henry Phillip Muntzer to 54 months of incarceration, 36 months of supervised release,

$2,000 in restitution, and a mandatory assessment of $270.

    I.       INTRODUCTION

          The defendant, Henry Muntzer, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers, and resulted in more than 2.9 million dollars in

losses. 1


1 As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States

Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
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       In the weeks leading up to January 6, 2021, Muntzer—who considered any attempt to

certify the results of the 2020 presidential election to be tantamount to treason—called for others

to join him in traveling to Washington, D.C., to engage in a battle of “Good vs. Evil” and paid for

eight people to fly to Washington, D.C. After attending President Trump’s speech at the Ellipse,

Muntzer then walked with his group to the Capitol—including a ten-year-old boy—where he

recorded videos saying that he was “taking the Capitol by storm.” After entering the Capitol

building, Muntzer repeatedly joined the mob’s efforts to push past police lines, both in the hallway

outside the Old Senate Chamber and in the Rotunda. Even as police officers worked to clear the

Rotunda, Muntzer’s resistance was so intense that he was ultimately one of the vary last rioters

forced out. Since January 6, 2021, Muntzer has consistently refused to take responsibility for his

actions and instead has championed them, stating to the press that “look[ing] back at history …

January 6 will be our new Fourth of July.” He has stated his willingness to engage in similar actions

in the future, saying that he “would absolutely want to be there again” because “it was the greatest

time … to be alive.”

       A 54-month sentence reflects the gravity of Muntzer’s conduct, particularly in light of his

continued lack of remorse, his repeated attempts to push against police lines in multiple locations

within the Capitol, and his open disdain for pretrial supervision.




is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.

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    II.        FACTUAL BACKGROUND

          A.     The January 6, 2021 Attack on the Capitol

          The government refers the court to the statement of facts supporting the criminal complaint

filed in this case, ECF No. 1, for a summary of the January 6, 2021 attack on the United States

Capitol by hundreds of rioters, in an effort to disrupt the peaceful transfer of power after the

November 3, 2020, presidential election.

          B.     Muntzer’s Role in the January 6, 2021 Attack on the Capitol

                                  Muntzer’s Statements Before January 6

          In the months leading up to January 6, 2021, Muntzer became increasingly frustrated with

the outcome of the 2020 presidential election. During this time, he frequently took to social media

to state that Donald Trump had won the election and that any attempt to certify Joe Biden’s

electoral victory would be fraudulent and treasonous. For example, on December 4, 2020, he

posted to Facebook that “[o]nce the real ballots are counted everyone will understand that [Trump]

won 49 states … in short time the evidence will bear it out. How will those who have been lied to

for so long handle it?” Trial Ex. 301.2.

          During this period, Muntzer closely followed legal challenges to the election results and

was aware of the significance of Congress’s certification of the Electoral College vote on January

6, 2021. See, e.g., Trial Ex. 301.4 (“Today the Supreme Court would not hear the lawsuits of Texas

and the other states about the illegal voting.”). Muntzer expressly equated the certification of the

election results to treason. On December 7, 2020, Muntzer explained his view on Facebook: “[I]t

was necessary to allow the states to certify the election not only because it’s fraud but it’s treason.




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What good would it be to expose the fraud to catch a few when you can catch em all…” Trial Ex.

301.3

        As time went on, Muntzer’s rhetoric escalated. He began to express a desire and

willingness to fight to stop the certification of the Electoral College vote from taking place. On

December 28, 2020, he posted to Facebook about his planned trip to Washington, D.C., saying,

“we are coming, and we are one pissed off group. We would rather die on our feet and be free than

to live on Our Knees as a slave.” Trial Ex. 301.6. Over the next few days, he continued to echo the

importance of showing up en masse on January 6, at one point evoking the imagery of a swarm of

bees: “The secret to defeating your enemy is to show up in masses. You see when you surround

your enemy with such overwhelming force, you can defeat your enemy without even firing a shot.”

Trial Ex. 301.8.




                                        Image 1: Trial Exhibit 301.7

        In fact, Muntzer was so determined to see a large crowd gather on January 6, 2021, in

support of former President Trump, that he even offered to pay for others to travel with him from

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Montana to Washington, D.C. See Trial Ex. 301.5. And Muntzer did, in fact, end up paying for

approximately eight other Montanans’ flights to Washington. Trial Tr. 2/6/2024 at 22.

       Just two days before January 6, 2021, Muntzer’s violent rhetoric escalated even further

when he posted that “Vice president Mike Pence is a traitor and will face execution.” Trial Ex.

301.11.

                        Muntzer’s Statements and Actions on January 6

       Muntzer traveled from Montana to Washington, D.C., on January 5, 2021 with a group.

The next day, he attended the “Stop the Seal” rally at the Ellipse with the group, where he listened

to President Trump’s speech. After the speech ended, Muntzer and his group joined the crowd in

walking from the Ellipse to the Capitol. Along the way, Muntzer was informed by a rioter next to

him that “my wife is saying they are breaking down the fences in front of the Capitol and are

pepper spraying everybody . . . it’s happening now.” Muntzer replied, “Well you know it’s the

people’s house, we just move in and spend the night down there . . . take it over.” Trial Ex. 219.

       On January 6, Muntzer approached the Capitol from the west, entering the restricted

Capitol perimeter and reaching the West Plaza. After other rioters breached the scaffolding at the

West Plaza’s north side, Muntzer joined the mob in surging up the Northwest stairs before reaching

the Upper West Terrace by approximately 2:35 p.m. There, Muntzer recorded multiple videos in

which he commented that he had passed “through all the tear gas” to “tak[e] the Capitol by storm.”

Trial Ex. 302.4; 302.5. These videos show rioters climbing on the scaffolding erected on the south

side of the West Plaza, stepping over piles of construction equipment, and waving for other rioters

to join them behind the fallen police line. Muntzer also testified at trial that he was pepper sprayed

while in this area. Trial Tr. 2/6/2024 at 33.


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       Muntzer then entered the Capitol building through the Upper West Terrace Door at

approximately 2:44 p.m. A loud fire alarm blared in that area.




              Image 2: Screenshot from Trial Exhibit 102.2 (Muntzer circled in yellow)

       Muntzer then proceeded to the heart of the Capitol building, walking through the Rotunda

and toward the Senate Chamber. Once inside, he was involved in a series of physical

confrontations with officers. First, before he could reach the Senate Chamber, Muntzer and a group

of other rioters encountered a police line blocking their path, just past the Old Senate Chamber. At

approximately 2:47 p.m., the crowd of rioters—including Muntzer—began pushing the police line

back down the hallway and toward the Senate. See Trial Ex. 103.2, 103.10. The police ultimately

regained control of the hallway after forcibly pushing back the crowd of rioters. Body-worn camera

footage, seen below, depicts one officer placing his hand on Muntzer and attempting to move

Muntzer back as the police reestablished their line.




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          Image 3: Screenshot from Trial Exhibit 103.10 (Muntzer circled in yellow)

       After the police regained control of the path to the Senate Chamber by deploying pepper

spray, Muntzer returned to the Rotunda by approximately 2:55 p.m. He briefly walked through a

hallway leading toward Statuary Hall and the House Chamber, but quickly returned to the Rotunda

by 2:57 p.m. There, Muntzer joined a crowd of rioters confronting a group of police officers

blocking a doorway leading out to the Capitol’s Upper West Terrace. It appeared that some of the

rioters believed that the entrance led to a path to Speaker Pelosi’s office. Muntzer positioned

himself at the front of this crowd and joined in a collective effort to push back the officers—who

had their backs to a set of stairs. See Trial Ex. 208, 210. At trial, one of the officers blocking this

doorway—MPD Officer Robert Varga—testified that at least one officer fell down the stairs

because of these collective pushes. Trial Tr. 2/5/2024 at 97.




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             Image 5: Screenshot of Trial Exhibit 210 (Muntzer circled in yellow)

        After failing to break the police line at the Rotunda archway, Muntzer moved to the center

of the Rotunda. At this time, the police established a line across the middle of Rotunda and

instructed rioters to exit through the East Rotunda Door, but they faced resistance from the mob.

See, e.g., Trial Ex. 103.9. Muntzer positioned himself at the front of the opposition, standing

directly in front of the police line. From this position, Muntzer yelled and chanted at the line of

officers, “USA, USA, USA!” and, when told to move back by the officers, Muntzer responded,

“No, I won’t do that.” Muntzer then joined the crowd in collectively pushing against the police

line.




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           Image 6: Screenshot of Trial Exhibit 103.3 (Muntzer circled in yellow)

       From his position at the front of the crowd, Muntzer pushed against officers, refused to

obey their commands to move back, and obstructed the police officers' attempts to clear the

Rotunda. Video evidence shown at trial depicts multiple instances of police attempting to push

Muntzer back from their line, but he repeatedly pushed back against their efforts and returned to

his position at the front of the mob confronting the police.




            Image 7: Screenshot of Trial Exhibit 214 (Muntzer circled in yellow)



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       Muntzer continued to resist police efforts to clear the Rotunda even as the police line

advanced closer to the exit. He was ultimately one of the very last rioters forced out of the Rotunda

on January 6.




     Image 8: Screenshot of Trial Exhibit 102.5 (Muntzer circled in yellow) at 3:18 p.m.

       After being pushed out of the Rotunda, Muntzer exited the Capitol Building through the

Rotunda Doors on the Capitol’s east side at 3:22 p.m. See Trial Ex. 102.4. In total, he spent

approximately 38 minutes inside the Capitol building.

                  Muntzer’s Statements and Actions After Leaving the Capitol

       Almost immediately after leaving the Capitol grounds, Muntzer began describing that

day’s events and his activities in interviews with YouTubers, Trial Ex. 203, and in posts to his

personal Facebook page. In one Facebook post from January 6, 2021, he described “storming the

capital . . . get[ting] past the capital police and enter[ing] 4 chambers.” Trial Ex. 301.12. That same

day, while commenting on his exposure to chemical irritants, Muntzer posted that “the burning

only made [him] more determined.” Trial Ex. 301.14. And two days later, on January 8, 2021,

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Muntzer explained in a Facebook post that every time police officers attempted to control the

crowd by deploying chemical irritants, the police “lost ground and we pushed them further down

the corridors.” Trial Ex. 301.16.

        Muntzer continued to be outspoken in the lead-up to his trial. On January 25, 2024, he

spoke to KRTV, a local news station, to describe his role in the riot at the Capitol. See Trial Ex.

221. In that interview, Muntzer, wearing a shirt with his booking photo from his arrest in this case

with the caption “Rockin’ the Orange!”, explained that “the reason why [he] was there was to keep

Congress from committing treason, which they did anyways.” He stated that “you’re going to look

back at history that January 6 will be our new Fourth of July.” Muntzer also stated, “I do not regret

being there. I would absolutely want to be there again . . . it was the greatest time, I believe, to be

alive.” Id.




                             Image 9: Screenshot of Trial Exhibit 221

        And, just days before his trial was scheduled to begin, Muntzer gave another interview

wherein he discussed his disregard for his conditions of release. Commenting on conditions

limiting his gun rights, Muntzer stated, “you think if a war breaks out that I care that I’m not
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supposed to handle a gun? Hell no. Not only will I get any guns I need, I’ll take the guns off of

them. So that won’t stop it if there’s ever a revolution.” Trial Ex. 224.

       Notably, Muntzer’s social media posts in recent months have regularly described current

political events in terms of war and revolution. For example, on February 18, 2024, Muntzer posted

on Facebook, in part, “many are paying the price for jannuary 6. The only difference [is] we will

not give up, even if we have to bring down the entire corrupt Government to do so.” He continued,

“We would rather die on our feet than live as slaves on our knees.” He then falsely claimed the

mob was “assembled peacefully” and that the police were aggressors.

                               Muntzer’s False Statements at Trial

       At trial, Muntzer chose to testify. However, this testimony was often untruthful and in

direct conflict with the Court’s findings.

       For example, Muntzer testified at trial “They let us into the Capitol . . . Somebody waved

us in. They opened the doors.” Trial Tr. 2/6/2024 at 30, 33, 60, 57. The evidence presented at trial

showed that this testimony was false. For example, Muntzer was aware that officers were using

chemical irritants to try to disperse rioters from the Capitol grounds. In fact, he even recorded

multiple videos in which he commented on the “tear gas” that was used, and, on cross examination,

Muntzer admitted to being pepper sprayed while outside the Capitol. Moreover, the evidence

clearly showed police officers attempted to block Muntzer and other rioters from reaching certain

locations within the Capitol building, and, in the Rotunda, they battled with Muntzer to force him

out of the building.

       Muntzer also testified at trial, “I did not push anyone. That’s very clear,” “I wasn’t pushing

on police lines,” and “I wasn’t pushing against [the police officers].” Trial Tr. 2/6/2024 at 29, 67,


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and 75. On direct, his counsel asked him, “Did you intend to offer any resistance to the guards [in

the Rotunda],” and Muntzer responded, “No.” Trial Tr. 2/6/2024 at 13. This is contrary to the video

evidence presented at trial and the Court’s verdict. See, e.g., Trial Tr. 2/7/2024 at 8 (“video also

shows Mr. Muntzer physically pushing back against officers.”).

                                 Muntzer’s Post-Trial Statements

       After the conclusion of trial, Muntzer continued to discuss this case and the events of

January 6, 2021 on social media. On February 7, 2024, after receiving the Court’s verdict, Muntzer

wrote on Facebook, “This is a badge of honor” and “Would I do it again knowing what I knew

then[,] absolutely.”

       These post-trial statements continue to double down on Muntzer’s false allegations. On

February 25, 2024, Muntzer posted a link to an article “Use Of Force Expert Says Capitol Police

‘Set One Man On Fire’ With Concussion Grenades on January 6.” In his post, Muntzer wrote, in

part, “It was the police and congress that created the trap an[d] assaulted us for a narrative.”

       Many of Muntzer’s post-trial statements also focused directly on the Court and its

personnel. On February 27, 2024, for example, Muntzer took to Facebook to decry the Court’s

rulings, claiming that he was “assaulted at the capital,” but “The judge is trying to prevent me from

releasing that information. This is criminal in nature.”

       And, in March 2024, Muntzer turned his attention to his Pretrial Services Officer. On

March 6, 2024, the Dillon Tribune, Muntzer’s local newspaper, published an interview with him

regarding an alleged violation of his pretrial release. Exhibit 1. The article states, “Muntzer added

the probation officer is part of the problem.” Id. at 2. The article then quotes Muntzer as stating,

“I’m about to expose her in a big way, and have her removed from representing anyone on Jan. 6


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cases because of her bias.” Id. Muntzer shared various grievances about this Officer on his

Facebook page and even published photographs displaying her name and contact information on

Facebook.

        But Muntzer did not limit this commentary to his personal social media. Instead, he went

to the press with his complaints about this Pretrial Services Officer. In an interview posted to

YouTube on March 14, 2024, Muntzer accused the Officer of “violat[ing] [his] rights and [lying]

under oath.” Exhibit 2. Muntzer kept the Pretrial Officer’s contact information on his public page,

knowing that the officer would likely be doxxed. Only after this Court instructed him to do so did

Muntzer delete his Facebook posts containing the Pretrial Services Officer’s contact information.

                                        THE CHARGES

        On January 18, 2023, a federal grand jury returned a superseding indictment charging

Muntzer with six counts, including 18 U.S.C §§ 1512(c)(2), 2 (Obstruction of an Official

Proceeding); 231(a)(3) (Civil Disorder); 1752(a)(1) (Entering and Remaining in a Restricted

Building or Grounds), and 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building

or Grounds) and 40 U.S.C. §§ 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building) and

5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building). On February 7, 2024,

Muntzer was convicted of those offenses following a bench trial.

   I.       STATUTORY PENALTIES

        Muntzer now faces sentencing on the charges listed above.

        As noted by the Presentence Report issued by the U.S. Probation Office, the defendant

faces the following maximum penalties for his offenses of conviction:




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   •     Count One (18 U.S.C. § 1512(c)(2)): Up to 20 years of imprisonment, a term of supervised

         release of not more than three years, a term of probation of not less than one nor more than

         5 years; a fine up to $250,000, restitution, and a mandatory special assessment of $100;

   •     Count Two (18 U.S.C. § 231(a)(3)): Up to 5 years of imprisonment, a term of supervised

         release of not more than three years, a term of probation of not less than one but not more

         than 5 years; a fine up to $250,000, restitution, and a mandatory special assessment of

         $100;

   •     Counts Three & Four (18 U.S.C. §§ 1752(a)(1) and (2)): For each count, up to one year of

         imprisonment, a term of supervised release of not more than one year, a term of probation

         of not more than 5 years; a fine up to $100,000, restitution, and a mandatory special

         assessment of $25; and

   •     Counts Five & Six (40 U.S.C. §§ 5104(e)(2)(D) and (G)): For each count, up to 6 months

         of imprisonment, a term of probation of not more than 5 years; a fine up to $5,000,

         restitution, and a mandatory special assessment of $10.

   II.      THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of

careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions.” Id. at 49. “As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark” for determining

a defendant’s sentence. Id.


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       The government largely agrees with the draft PSR’s Sentencing Guidelines calculations.

       Count One: 18 U.S.C. §1512(c)(2)

               U.S.S.G. § 2J1.2              Base Offense Level                           14
               U.S.S.G. § 3C1.1              Obstruction of Justice                       +2
                                             Adjusted Offense Level                       16

       Count Two: 18 U.S.C. § 231(a)(3)

               U.S.S.G. § 2A2.4          Base Offense Level                               10
               U.S.S.G. § 2A2.4(b)(1)(A) Physical Contact                                 +3
               U.S.S.G. § 3C1.1          Obstruction of Justice                           +2
                                         Adjusted Offense Level                           15

       The draft PSR has a typographical error for the Sentencing Guidelines calculation for

Count Two. While it provided for a 2-level adjustment for obstruction of justice, it failed to add

that adjustment in the Adjusted Offense Level (counting only 13 levels instead of 15). See PSR

¶¶ 62–64. The draft PSR also did not include the Guidelines calculations for each count, so the

government includes those calculations below.

       Count Three: 18 U.S.C. § 1752(a)(1)

               U.S.S.G. § 2B2.3(a)       Base Offense Level                        4
               U.S.S.G. § 2B2.3(b)(1)(A) Restricted Grounds                        +2
               U.S.S.G. § 2B2.3(c)(1)     (§2X1.1(a) cross-reference to Count Two)

               U.S.S.G. § 2A2.4          Base Offense Level                               10
               U.S.S.G. § 2A2.4(b)(1)(A) Physical Contact                                 +3
               U.S.S.G. § 3C1.1          Obstruction of Justice                           +2
                                         Adjusted Offense Level                           15

       Count Four: 18 U.S.C. § 1752(a)(2)


               U.S.S.G. § 2A2.4          Base Offense Level                               10
               U.S.S.G. § 2A2.4(b)(1)(A) Physical Contact                                 +3
               U.S.S.G. § 3C1.1          Obstruction of Justice                           +2
                                         Adjusted Offense Level                           15


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                            Obstruction Enhancement under § 3C1.1

        Muntzer’s false trial testimony should result in a two-point enhancement under U.S.S.G. §

3C1.1. Application Notes 4(B) and 4(F) to Section 3C1.1 state that “committing . . . . perjury” is

one type of conduct to which the two-level obstruction enhancement applies, as is “providing

materially false information to a judge.” United States v. Dunnigan, 507 U.S. 87, 92-95 (1993).

Whether Muntzer committed either type of conduct must be shown by preponderance of the

evidence. 2 See United States v. Smith, 374 F.3d 1240, 1245 (D.C. Cir. 2004) (citing United States

v. McCoy, 242 F.3d 399, 407 n.14 (D.C. Cir. 2001)). The Court should make specific findings at

sentencing as to each element of perjury: that Muntzer gave “false testimony concerning a material

matter with the willful intent to provide false testimony.” Dunnigan, 507 U.S. at 94.

        Muntzer took the stand at trial and repeatedly committed perjury. As noted above, he made

at least the following materially false statements: “[The police officers] let us into the Capitol . . .

Somebody waved us in. They opened the doors” (Trial Tr. 2/6/2024 at 30), “I did not push anyone.

That’s very clear” (Trial Tr. 2/6/2024 at 29), “I wasn’t pushing on police lines” (Trial Tr. 2/6/2024

at 67), and “I wasn’t pushing against [the police officers]” (Trial Tr. 2/6/2024 at 75).

        The Court’s verdict confirms the falsity of Muntzer’s claims. In its verdict, the Court stated,




2 “At one time,” the D.C. Circuit required proof of perjury for 3C1.1 purposes by clear-and-
convincing evidence. United States v. Makki, 47 F. Supp. 2d 25, 29 n.3 (D.D.C. 1999) (citing
United States v. Montague, 40 F.3d 1251, 1253 (D.C. Cir. 1994)). But the D.C. Circuit
subsequently interpreted a 1997 amendment to the sentencing guidelines to mean that “such
allegations could now be proven by a preponderance of the evidence.” United States v. Smith, 374
F.3d 1240, 1245 (D.C. Cir. 2004) (citing United States v. McCoy, 242 F.3d 399, 407 n.14 (D.C.
Cir. 2001)). While Montague has not, to the government’s knowledge, been expressly overruled,
the government is not aware of it having been cited favorably in a perjury 3C1.1 case that involved
the post-1997 guidelines. Of course, Worrell committed perjury under either standard of proof.
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“I don’t credit that Mr. Muntzer walked into the Capitol as a lost tourist” and “it would have been

obvious from the officers' conduct toward the people in the Capitol building that he was not

supposed to be there.” Trial Tr. 2/7/2024 at 12, 15. The Court even highlighted a government

exhibit that directly refuted Muntzer’s statement on the stand that the officers let him. Trial Tr.

2/7/2024 at 12 (discussing a video of Muntzer walking to the Capitol where Muntzer was told “that

the fences were being knocked down.”). The Court also found Muntzer “did physically clash with

law enforcement . . . [and Muntzer] used his strength to resist and push back.” Trial Tr. 2/7/2024

at 13.

         Thus, the two-point enhancement applies.

                                            Grouping

         The government agrees with the draft PSR’s grouping analysis. Counts One, Three and

Four group because they involve the same victim, Congress. U.S.S.G. § 3D1.2(b). Count Two

involves a distinct group—the police officers inside the Capitol building against whom Muntzer

repeatedly pushed. Pursuant to U.S.S.G. § 3D1.4, one unit is assigned to the group with the highest

offense level (Group 1, Adjusted Offense Level 16) and one unit is assigned to a group that is 1 to

4 levels less serious (Group 2, Adjusted Offense Level 15). The combined adjusted offense level

is therefore 18.

         Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. The PSR correctly

concludes that Section 4C1.1 does not apply in this case, PSR ¶ 70, because Muntzer repeatedly

used violence and physical force to obstruct police officers. U.S.S.G. § 4C1.1(a)(3). Courts in this


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district have interpreted “violence,” for purposes of § 4C1.1, to include “the exertion of any

physical force so as to injure or abuse.” See United States v. Bauer, 21-cr-386-2 (TNM) (quoting

Webster’s Third New International Dictionary (1993)); see also United States v. Hernandez, No.

21-cr-445 (CKK), ECF No. 65 at 5. Muntzer’s conduct at the Capitol satisfies this definition. The

Court found beyond a reasonable doubt that Muntzer “used his strength to resist and push back”

while “physically clash[ing] with law enforcement. Trial Tr. 2/7/2024 at 13. While in the Rotunda,

Muntzer “repeatedly pushed himself to the front of the crowd” and “had face-to-face interactions

and confrontations with officers” that included “physically pushing back against officers.” Id. at

7–8. In fact, while in the Rotunda, Muntzer’s attempts to push against police lines contributed to

a police officer falling down a set of stairs, Trial Tr. 2/5/2024 at 97, according to the testimony of

MPD Officer Robert Varga—which the Court “credit[ed] in full.” Trial Tr. 2/7/2024 at 7. Simply

put, group pushes against outnumbered police involve violence. The government is aware of

multiple cases in which courts have rejected the application of § 4C1.1 to January 6 defendants

who participated in collective pushes against police lines. See, e.g., United States v. Giberson, 23-

cr-115 (CJN); United States v. Reyher, 23-cr-138 (RBW).

       Due to the unique nature of the January 6 mob, the harms caused by the January 6 riot, and

the significant need to deter future mob violence, the government submits that even if the Court

were to find that § 4C1.1 applies, the Court should nevertheless vary upwards by two levels to

counter any reduction in offense level. Such treatment would recognize the unique nature of the

criminal events of January 6, 2021, coupled with the overwhelming need to ensure future

deterrence, despite a person’s limited criminal history.




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       Finally, to avoid unnecessary litigation, if the court declines to apply § 4C1.1, the

government requests that the Court make clear at sentencing that it would have imposed the same

sentence regardless of whether § 4C1.1 applies. 3

       The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. PSR ¶ 56. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level at 18, and a criminal history score of 0, Muntzer’s Sentencing

Guidelines range is 27 to 33 months of incarceration.

       A. Upward Departure or Variance

       After determining the defendant’s Guidelines range, a court then considers any departures

or variances. See U.S.S.G. § 1B1.1(a)-(c). Following United States v. Brock, 94 F.4th 39 (D.C.

Cir. 2024) the enhancements under U.S.S.G. §§ 2J1.2(b)(1)(B) and (b)(2) no longer apply. But

that decision does not undercut the severity of Muntzer’s crime – that, to obstruct the electoral

certification, he positioned himself at the front of the mob in multiple instances and tried to use

physical force to overpower the outnumbered police force standing between him and Congress.

And Muntzer’s goal was no less than stopping the peaceful transfer of power; a goal that he and

the mob succeeded in achieving for several hours, causing the evacuation of the entire Congress

and the Vice President., See Brock, 94 F.4th at 59 (“interference with one stage of the electoral

college vote-counting process . . . no doubt endanger[ed] our democratic processes and temporarily




3 U.S.S.G. § 5C1.1 has also been amended with a new application note providing that if a
defendant receives an offense level reduction under §4C1.1 and either their applicable guideline
range is in Zone A or B of the Sentencing Table, or the guideline range overstates the seriousness
of the offense, imprisonment may not be appropriate. See U.S.S.G. § 5C1.1, comment. n. 10. The
government submits that for the same reasons that § 4C1.1 should not be applied in this case, a
sentence of imprisonment is appropriate notwithstanding Application Note 10 to § 5C1.1.
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derail[ed] Congress’s constitutional work”). In order to impose a just and fair sentence in this case,

the Court should either (1) impose an upward departure pursuant to U.S.S.G. § 5K2.7, resulting in

a sentence of 54 months’ imprisonment, or (2) vary upwards to sentence Muntzer to 54 months’

imprisonment, above his current Guidelines range but still within the pre-Brock Guidelines range.4

       A “district court’s authority to impose a departure emanates from 18 U.S.C. § 3553(b)(1)

and, in turn, in Chapter 5, Part K of the Guidelines.” United States v. Jacobs, 635 F.3d 778, 781–

82 (5th Cir. 2011). This part of the Guidelines “identifies some of the circumstances that the

Commission may have not adequately taken into consideration in determining the applicable

guideline range,” which may warrant a departure. U.S.S.G. § 5K2.0(a)(2)(A).

       One such circumstance is when an offense results in “a significant disruption of a

governmental function.” U.S.S.G. § 5K2.7. 5 A departure under this guideline is warranted in

“unusual” circumstances where the Guidelines do not reflect the appropriate punishment for the

offense. Id. In such circumstances, “the court may increase the sentence above the authorized

guideline range to [1] reflect the nature and extent of the disruption and [2] the importance of the

governmental function affected.”

       Although the general rule is that § 5K2.7 does not provide for an upward departure when

the offense involves obstruction of justice, the obstruction of the Electoral College certification on


4 The government’s proposed 54-month sentence is below what Muntzer’s guidelines range would

have been pre-Brock if Muntzer had received the +3 enhancements for obstruction causing a
substantial interference under 2J1.2(b)(2) and the +8 enhancement for conduct causing or
threatening injury or property damage under 2J1.2(b)(1)(B). It is above what the range would have
been if he had received the +3 enhancement alone, which is a fitting reflection of the fact that his
obstruction involved three separate physical confrontations with the police.
5 This guideline does not require the government to establish a direct link between the defendant’s

misconduct and the alleged disruption, nor does it “require that the disruption be of any particular
type or consequence.” See United States v. Saani, 650 F.3d 761, 765–66, 771 (D.C. Cir. 2011).
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January 6, 2021 is the exact type of unusual circumstance that the Sentencing Commission could

not have predicted and that warrants an upward departure. Those who obstructed the

administration of justice that day targeted the peaceful transfer of power, one of the fundamental

and foundational principles of our democracy. They were part of a mob that injured more than one

hundred police officers and resulted in more than 2.9 million dollars in losses. Defendants like

Muntzer “endanger[ed] our democratic processes and temporarily derail[ed] Congress’s

constitutional work.” Brock, 2024 WL 875795, at *15. It was an unprecedented day in American

history. But, following Brock, the seriousness of the crimes committed for defendants like Muntzer

is not adequately captured by the applicable Guideline, § 2J1.2, because the Sentencing

Commission did not contemplate that an event like January 6 could happen when it wrote the

Guidelines. At least one Judge of this Court has already applied § 5K2.7 in a January 6 case. See

United States v. Eicher, 22-cr-38 (BAH), Sent. Tr. 9/15/23 at 50 (applying § 5K2.7 because the

defendant “join[ed] a mob, in the center of the melee, and through the sheer numbers and

aggressive conduct towards police, breached the Capitol resulting in stopping the legitimate

business of Congress for hours”).

       If the Court decides not to apply § 5K2.7, an upward variance is warranted to achieve an

appropriate sentence under the § 3553(a) sentencing factors. An upward variance is appropriate

when “the defendant’s conduct was more harmful or egregious than the typical case represented

by the relevant Sentencing Guidelines range.” United States v. Murray, 897 F.3d 298, 308–09

(D.C. Cir. 2018) (cleaned up).

       Here, an upward variance is warranted to account for the unique nature and circumstances

of the offense and to reflect the seriousness of the offense. As just discussed, Muntzer’s obstruction


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of justice on January 6 was a serious offense that attacked the fundamentals of American

democracy. The only reason that Muntzer is not subject to eleven levels’ worth of enhancements

in § 2J1.2 is because the Sentencing Commission did not imagine that a day like January 6 could

occur. As Judge McFadden stated in a pre-Brock sentencing hearing:

       Regardless of whether the ‘administration of justice’ language actually applies to this
       situation, I have no doubt that the Commission would have intended for this to apply to
       substantial interference with an official proceeding like a certification process, which is
       itself more significant than almost any court proceeding… [Y]ou and your fellow rioters
       were responsible for substantially interfering with the certification, causing a multiple-
       hour delay, numerous law enforcement injuries and the expenditure of extensive
       resources.

United States v. Hale-Cusanelli, 21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87 (emphasis added).

       In the specific facts and circumstances of Muntzer’s case, an upward variance to 54

months’ incarceration is appropriate. See United States v. Reffitt, 21-cr-87 (DLF), Mem. Op. and

Order 4/10/24 at 10-11 (upward variance would be justified because “as other judges in this district

have noted, the proceedings at issue on January 6, 2021 were of much greater significance than

run-of-the-mill ‘judicial, quasi-judicial, and adjunct investigative proceedings’); United States v.

Fonticoba, 21-cr-368 (TJK), Sent’g Tr. 1/11/24 at 66–67 (stating that, even if the defendant’s

§ 1512 conviction were invalidated, a significant upward variance was warranted to account for

the defendant’s intent “to obstruct the proceeding and the nature of the proceeding itself”);

Fonticoba, 4/11/2024 Mem. Order at 4-5 (denying motion for release pending appeal and agreeing

that certification proceeding was “far more important” than “any run-of-the-mill” judicial or quasi-

judicial proceeding). Accordingly, the government requests that the Court vary upwards and

sentence Muntzer to 54 months’ imprisonment, in order to give effect to “the concerns underlying




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the Government’s requests for these enhancements under the § 3553(a) factors at sentencing.” See

United States v. Seefried, 639 F. Supp. 3d 8, 20 (D.D.C. 2022).

    III.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of a lengthy term of incarceration.

           A.     Nature and Circumstances of the Offense

           As shown in Section II(B) of this memorandum, Muntzer’s felonious conduct on January

6, 2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. Muntzer was an active participant in the riot, repeatedly joining

the mob in violently pushing against police lines and resisting attempts by the police to clear the

Capitol building. And his intent was clear: to prevent Congress from certifying the election

results—an act that Muntzer continues to describe as treason. The nature and circumstances of

Muntzer’s offenses were of the utmost seriousness, and fully support the government’s

recommended sentence of 54 months incarceration.

           B. The History and Characteristics of the Defendant

           As set forth in the PSR, Muntzer has no past criminal convictions. PSR ¶ 72–78. Muntzer

has reported that he is in good physical and mental health and that he has no history of substance

abuse. PSR ¶ 89–93. From 1999 to sometime after January 2021, Muntzer owned an appliance

store, Appliance Doctor, Inc., in Dillon, Montana, but he is currently unemployed. PSR ¶ 97–98.

Muntzer currently lives alone in Dillon, Montana. PSR ¶ 85.




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         Muntzer has not been fully compliant while on release. See PSR ¶ 11; ECF No. 83 (pretrial

violation report). The Court held a hearing on Muntzer’s violations of his conditions of release in

March 2024 but ultimately did not revoke his bond. Muntzer has complied with his conditions of

release since that time. Id. And, as described below in connection with the need for specific

deterrence, Muntzer has been defiant and remorseless.

         C.     The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

         The attack on the Capitol building and grounds was an attack on the rule of law. As with

the nature and circumstances of the offense, this factor supports a sentence of incarceration, as it

will in most cases arising out of the January 6th riot. See United States v. Cronin, 22-cr-233 (ABJ),

Tr. 06/09/23 at 20 (“We cannot ever act as if this was simply a political protest, simply an episode

of trespassing in a federal building. What this was an attack on our democracy itself and an attack

on the singular aspect of democracy that makes America America, and that’s the peaceful transfer

of power.”) Muntzer’s criminal conduct on January 6 was the epitome of disrespect for the law.

         C. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                       General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving



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domestic terrorism, which the breach of the Capitol certainly was. 6 The demands of general

deterrence therefore weigh strongly in favor of incarceration.

       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President. There is possibly

no greater factor that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs especially heavily in favor of a lengthy term of incarceration.

       First, Muntzer’s utter lack of remorse for his actions and his public statements to that effect

even after being convicted at trial strongly suggest that, given the chance, Muntzer would engage

in similar criminal conduct in the future. The court need not infer this tendency toward recidivism:

Muntzer has said so himself. In his January 25, 2024, interview, he directly stated, “I do not regret

being there. I would absolutely want to be there again . . . it was the greatest time, I believe, to be

alive.” And this was not an isolated incident. Muntzer’s statements post-trial continue to discuss

national politics in terms of a war between good and evil, with Muntzer stating that he has a duty

and an obligation to overthrow the government, which he sees as tyrannical. Additionally, absent

being incarcerated, Muntzer will not be deterred from possessing a firearm. Trial Ex. 224 (“you

think if a war breaks out that I care that I’m not supposed to handle a gun? Hell no.”). This same




6 See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).

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statement shows his unwillingness to follow the Court’s rules and the law when they contravene

what he thinks is best. 7

       Second, Muntzer has displayed a defiant and even threatening attitude toward the Court

and pretrial services. Moments after being found guilty, Muntzer took to Facebook to decry the

Court’s ruling, claiming that he was “assaulted at the capital,” but “The judge is trying to prevent

me from releasing that information. This is criminal in nature.” He also targeted his Pretrial

Services Officer in his local newspaper and on Facebook. Muntzer called her “part of the problem,”

“bias[ed],” and that he would “expose her in a big way.” Muntzer kept posts regarding his Pretrial

Services Officer on his Facebook page which included her name and contact information.

       The need for specific deterrence is especially strong here. Unhappy with the results of the

2020 presidential election, Muntzer traveled hundreds of miles from his home in Montana to

Washington, D.C., joined a mob invading the Capitol, obstructed Congressional proceedings, and

attacked officers. With the 2024 presidential election approaching, the potential for political

violence remains. The Court must sentence Muntzer in a manner sufficient to deter him

specifically, and others generally, from going down that road again.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United




7 Muntzer genuinely believes war is a real possibility. For example, after the verdict, on February

18, 2024, Muntzer wrote on Facebook, in part, “It’s our duty and our obligation to overthrow a
tyrannical government. Remember, this is a war, not with bullets, but ideologies whether we
remain free or slaves.”
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States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United

States, 552 U.S. 38, 54 (2007).

       Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to impose a

sentence sufficient, but not greater than necessary, to comply with the purposes” of sentencing. 18

U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing disparities in Section

3553(a)(6) is “only one of several factors that must be weighted and balanced,” and the degree of

weight is “firmly committed to the discretion of the sentencing judge.” United States v. Coppola,

671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of the Section 3553(a) factors means


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that “different district courts may have distinct sentencing philosophies and may emphasize and

weigh the individual § 3553(a) factors differently; and every sentencing decision involves its own

set of facts and circumstances regarding the offense and the offender.” United States v. Gardellini,

545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095. “As the qualifier ‘unwarranted’ reflects, this provision

leaves plenty of room for differences in sentences when warranted under the circumstances.”

United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 8

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.9

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the conduct in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

       In United States v. Barnett, 21-cr-038 (CRC), the defendant, who famously was

photographed with his feet on a desk in Speaker Pelosi’s office suite, was found guilty of felony


8 If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).

9 A routinely updated table providing additional information about the sentences imposed on other

Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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violations of 18 U.S.C. §§ 231(a)(3) and 1512(c)(2), as well as the felony versions of 18 U.S.C. §

1752(a)(1) and (2) because he carried a dangerous weapon—an electrified walking stick and a ten-

pound metal flagpole. Barnett was sentenced to 54 months’ incarceration. Barnett and Muntzer

have many similarities. Like Muntzer, Barnett was vocal on social media in the weeks leading up

the January 6, indicating that he was ready to fight to prevent President-Elect Biden from assuming

office. Also like Muntzer, Barnett gave numerous interviews to the press following January 6, in

which he boasted about his activities on January 6 and suggested that he would engage in similar

criminal conduct in the future. Barnett did carry a walking stick that doubled as a stun gun and a

heavy flagpole, but he did not physically engage with officers—let alone in three separate places,

like Muntzer. Judge Cooper also gave Barnett credit at sentencing for being compliant with the

terms of pretrial release. Muntzer, by contrast, has been non-compliant and defiant.

       In United States v. Clark, 21-cr-538 (DLF), the defendant was found guilty of felony

violations of 18 U.S.C. § 1512(c)(2), as well as various misdemeanor charges after a stipulated

trial and was sentenced to 33 months’ incarceration. In the days leading up to January 6, Clark

described the upcoming events as a “revolt,” and, after reaching the Capitol, texted his friends

multiple times to brag about “storm[ing]” the Capitol. While inside, Clark joined at least one

collective push against police officers. In total, he spent approximately nearly 40 minutes inside

the building. Muntzer, meanwhile, pushed against officers outside the Old Senate Chamber, at the

Rotunda doorway, and in the middle of the Rotunda, and, unlike Clark, was convicted of violating

18 U.S.C. § 231(a)(3). Moreover, in Clark, the defendant was given a three-point reduction from

his sentencing guidelines calculation for acceptance of responsibility. Muntzer chose the opposite




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path. Muntzer’s lack of remorse, statements he would do it all over again, threats to his Pretrial

Services Officer, and pushes against police officers are aggravating.

       In United States v. Williams, 21-cr-377 (BAH), the defendant was found guilty of a felony

violation of 18 U.S.C. § 1512(c)(2), as well as various misdemeanor charges, after a jury trial and

was sentenced to 60 months’ incarceration. Like Muntzer, after the 2020 presidential election,

Williams issued a series of social media posts expressing his anger that Donald Trump lost and

stating his intention to go to the Capitol on January 6 to “Hold the Line” to stop the certification

of the election results. Williams helped rioters flank police officers on the West Front, stole water

bottles from USCP, entered the Capitol for six minutes, and celebrated by smoking marijuana.

Unlike Muntzer, Williams only assisted others to climb areas on the West Plaza or was near the

front of the mob during confrontations with police – he did not physically attack the police.

Williams, like Muntzer, then resisted police officers' attempts to remove him from the Rotunda.

Like Muntzer, Williams later bragged on social media, expressing no remorse. Although Williams

stole water bottles and smoked marijuana inside the Capitol, Williams was not convicted of

violating 18 U.S.C. § 231(a)(3), he did not physically engage with police officers, and he did not

threaten his Pretrial Services Officer, which are aggravating.

       In United States v. Bru, 21-cr-352 (JEB), the defendant was found guilty of felony

violations of 18 U.S.C. §§ 231(a)(3) and 1512(c)(2), as well as various misdemeanor charges, after

a bench trial and was sentenced to 60 months’ incarceration. On January 6, Bru battled with police

officers on the West Plaza before entering the Capitol and entering the Senate Gallery. While Bru

absconded from pretrial release, Muntzer’s compliance has not been perfect. While Bru was

defiant of the Court’s authority throughout the proceedings, he did not take the stand and perjure


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himself. And Bru engaged in a single act of civil disorder (pushing at the police) outside the

Capitol; Muntzer battled police inside the Capitol and in several areas – including in the hallway

to the Senate.

         The goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is “only one of

several factors that must be weighted and balanced,” and the degree of weight is “firmly committed

to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir.

2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the result that

“different district courts may have distinct sentencing philosophies and may emphasize and weigh

the individual § 3553(a) factors differently; and every sentencing decision involves its own set of

facts and circumstances regarding the offense and the offender.” United States v. Gardellini, 545

F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence differently—

differently from the Sentencing Guidelines range, differently from the sentence an appellate court

might have imposed, and differently from how other district courts might have sentenced that

defendant.” Id. at 1095.

   IV.      FINE

         The defendant’s convictions subject him to a statutory maximum fine of $250,000 for

Counts One and Two, $100,000 for Counts Three and Four, and $5,000 for Counts Five and Six.

See 18 U.S.C. § 3571(b). In determining whether to impose a fine, the sentencing court should

consider the defendant’s income, earning capacity, and financial resources. See 18 U.S.C. §

3572(a)(1); See U.S.S.G. § 5E1.2(d). The sentencing guidelines provide for a fine in all cases,

except where the defendant establishes that he is unable to pay and is not likely to become able to

pay any fine. U.S.S.G. § 5E1.2(a), (e) (2023).


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        The burden is on the defendant to show present and prospective inability to pay a fine. See

United States v. Gewin, 471 F.3d 197, 203 (D.C. Cir. 2006) (explaining that “it makes good sense

to burden a defendant who has apparently concealed assets” to prove that “he has no such assets

and thus cannot pay the fine”); United States v. Lombardo, 35 F.3d 526, 528 (11th Cir. 1994).

        Here, the defendant has not shown an inability to pay, thus pursuant to the considerations

outlined in U.S.S.G. § 5E1.2(d), the Court has authority to impose a fine. § 5E1.2(a), (e). Muntzer

has continued his obstructive conduct and lack of respect for Pretrial Services by not submitting

his financial forms. See PSR at ¶ 109. The guidelines fine range here is $10,000 to $95,000.

U.S.S.G. § 5E1.2(c).

   V.      RESTITUTION

        Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011). First, the Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291

§ 3579, 96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with

discretionary authority to order restitution to victims of most federal crimes.” Papagno, 639 F.3d

at 1096; see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to restitution under the VWPA).

Second, the Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110

Stat. 1214 (codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases

involving a subset of the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The

MVRA applies to certain offenses including those “in which an identifiable victim or victims has


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suffered a physical injury or pecuniary loss,” 18 U.S.C. § 3663A(c)(1)(B), a “crime of violence,”

§ 3663A(c)(1)(A)(i), or “an offense against property … including any offense committed by fraud or

deceit,” § 3663A(c)(1)(A)(ii). See Fair, 699 F.3d at 512 (citation omitted). But because MUNTZER

was convicted of a violation of an offense under Title 18, the VWPA does apply.

       The applicable procedures for restitution orders issued and enforced under these two

statutes is found in 18 U.S.C. § 3664. See 18 U.S.C. § 3556 (directing that sentencing court “shall”

impose restitution under the MVRA, “may” impose restitution under the VWPA, and “shall” use

the procedures set out in Section 3664).

       Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.

United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See

Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of

loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

       In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). The MVRA, by contrast, requires imposition of full

restitution without respect to a defendant’s ability to pay. 10


 10 Both statutes permit the sentencing court to decline to impose restitution where doing so will

 “complicat[e]” or “prolong[]” the sentencing process. See 18 U.S.C. §§ 3663(a)(1)(B)(ii),
 3663A(c)(3)(B).
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        Because the defendant in this case engaged in criminal conduct in tandem with hundreds

of other defendants charged in other January 6 cases, and his criminal conduct was a “proximate

cause” of the victims’ losses if not a “cause in fact,” the Court has discretion to apportion restitution

and hold the defendant responsible for his individual contribution to the victims’ total losses. See

Paroline v. United States, 572 U.S. 434, 458 (2014) (holding that in aggregate causation cases, the

sentencing court “should order restitution in an amount that comports with the defendant’s relative

role in the causal process that underlies the victim’s general losses”). See also United States v.

Monzel, 930 F.3d 470, 476-77, 485 (D.C. Cir. 2019) (affirming $7,500 in restitution toward more

than a $3 million total loss, against a defendant who possessed a single pornographic image of the

child victim; the restitution amount was reasonable even though the “government was unable to

offer anything more than ‘speculation’ as to [the defendant’s] individual causal contribution to [the

victim’s] harm”; the sentencing court was not required to “show[] every step of its homework,” or

generate a “formulaic computation,” but simply make a “reasoned judgment.”).

        More specifically, the Court should require Muntzer to pay $2,000 in restitution for his

convictions on Counts One and Two. This amount fairly reflects Muntzer’s role in the offense and

the damages resulting from his conduct. Moreover, in cases where the parties have entered into a

guilty plea agreement, $2,000 has consistently been the agreed upon amount of restitution and the

amount of restitution imposed by judges of this Court where the defendant was not directly and

personally involved in damaging property. Accordingly, such a restitution order avoids sentencing

disparity.




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   VI.      CONCLUSION

         For the reasons set forth a100484bove, the government recommends that the Court impose

a sentence of 54 months of incarceration, 36 months of supervised release, $2,000 in restitution, a

mandatory assessment of $100 each for Counts One and Two, a mandatory assessment of $25 each

for Counts Three and Four, and a mandatory assessment of $10 each for Counts Five and Six.

                                             Respectfully submitted,

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